                                 Exhibit
        Case 1:21-cv-11181-PBS Document   B Filed 11/07/23 Page 1 of 9
                                        288-2
                                           EXHIBIT A


                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  INA STEINER, DAVID STEINER, and
  STEINER ASSOCIATES, LLC,

                         Plaintiffs,
        v.                                                Civil Action No. 1:21-CV-11181-DPW

  EBAY INC., et al.,

                         Defendants.



                            [PROPOSED] PROTECTIVE ORDER

       Pursuant to Federal Rule of Civil Procedure 26, to facilitate discovery of information

which may be publicly disclosed while protecting from disclosure classified national security

information, see Executive Order 13536, 75 Fed. Reg. 707 (Dec. 29, 2009), IT IS HEREBY

ORDERED as follows:

       1.      The Parties shall not seek to elicit any testimony from any witness, or use or

otherwise disclose in the course of this action, any documents or information that is Protected

Information, as defined below. This obligation belongs to each individual party to this action,

and no party shall be held responsible for another party’s failure to comply with this order.

       2.      Protected Information shall include:

               a.      Any information that might tend to reveal the nature of any classified or

                       nonpublic relationships, contractual or otherwise, between one or more of

                       the PartiesDefendant Jim Baugh and the U.S. Government, including the

                       details of any such actual, alleged, discussed, or proposed relationship,

                       association, contract, project, dealing, interaction, or agreement
Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 2 of 9




           (“Relationship”).    Such information shall include any information

           regarding the nature and scope of any work, as well as any related

           preparation or training related to such work, allegedly performed by the

           Parties for or on behalf of the U.S. Government, any activities undertaken

           by the Parties under any alleged Relationship; the time period during

           which the Parties performed any alleged work or had any alleged

           Relationship;   any information concerning any alleged financial

           arrangements for any alleged work; and any information concerning the

           Parties’ obligations in connection with any alleged Relationship;. For

           purposes of this order, Baugh’s communications with the Government in

           connection with the criminal investigation that ultimately resulted in the

           convictions of defendants Baugh, Cooke, Gilbert, Harville, Popp,

           Stockwell, and Zea shall not constitute a Relationship; however, to the

           extent those communications reveal information about a Relationship,

           they shall constitute Protected Information;

     b.    Any information that might tend to reveal or disclose the identities of any

           and all U.S. Government employees or contractors or offices with whom

           one or more of the PartiesBaugh may have had classified or other

           non-public interactions pursuant to any Relationship as defined in

           paragraph 2(a) above, including but not limited to names, phone numbers,

           fax numbers, email addresses, and similar identifying information;




                                     2
           Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 3 of 9




                c.     Any other classified or other non-public information concerning any U.S.

                       Government activities or interests at issue in any Relationship as defined

                       in paragraph 2(a) above;

                d.     Any information, including information in the above categories, subject to

                       a nondisclosure or secrecy agreement with any U.S. Government entity in

                       connection with any Relationship as defined in paragraph 2(a) above; and

                e.     The unredacted letter written by Mr. James Baugh and filed in this matter

                       under seal at ECF No. 144-2 and ECF No. 146-2, and the information that

                       has been redacted by the United States from that letter in any form (e.g.,

                       written or oral disclosure).

       3.       Protected Information shall not include the fact of whether or not a Relationship

existed.

       4.       The Parties shall review any pleadings and documents in their possession,

custody, or control that they intend to file, use, or otherwise disclose in the course of this action,

including any documents that the Parties are required to produce in response to lawful process or

Court order at any subsequent point in this matter, to determine if such pleadings or documents

would reveal, tend to reveal, or may risk disclosure of Protected Information. The Parties agree

that Protected Information shall not be used or referred to in any motions, notices, briefs,

exhibits, discovery requests or responses, pleadings filed in this case, or other documents filed,

disclosed, or used in this case, or proceedings in this case.

       5.       The Parties shall provide the Government prior to use or disclosure, through

counsel at the U.S. Department of Justice (“DoJ”), with copies of any pleadings or documents

that the Parties intend to file with the court, serve on or disclose to another party or non-party




                                                  3
        Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 4 of 9




related to this case, or use at any hearing, trial, or other proceeding in this case that references or

relates in any way to (1) the U.S. Government, including any agency or entity of the U.S.

Government, or (2) Defendant JamesJim Baugh. Pleadings or documents need not be provided

to DoJ under this paragraph if the reference or relation to the U.S. Government or Defendant

JamesJim Baugh exclusively concerns events occurring on or after July 1, 2018. If the U.S.

Government determines that any pleading or document or portion thereof contains Protected

Information, the U.S. Government shall, to the extent possible, redact the Protected Information

and provide the Parties with a redacted copy of the pleading or document. The Parties agree that,

during this action, should they wish to file, disclose, or use pleadings or documents that have

been provided to the U.S. Government for review, only the versions of the pleadings or

documents that have been reviewed and redacted will be filed, disclosed, or otherwise used in

this action, consistent with the procedures set forth in this Order. If the U.S. Government

determines that redaction of the Protected Information is not feasible, such pleading or document

shall be withheld in full and not disclosed or otherwise used or referenced in this action. Any

dispute concerning the Government’s determination of whether a pleading or document contains

Protected Information may be presented to the Court in accord with Paragraph 12 below.

        6.      The Court hereby makes permanent its prior interim ruling that the Clerk of Court

will maintain under seal a redacted version of the document filed at ECF Nos. 144-2 and 146-2

and that the Parties may continue to possess redacted versions of that document and cite or quote

from the non-redacted portions only. See ECF No. 166. The Clerk of Court shall delete or return

to DoJ any copies of the unredacted versions of ECF Nos. 144-2 and 146-2 in the Court’s

custody and to continue to maintain under seal only the redacted versions of those documents.

The Parties are ordered to either delete or return to DoJ any copies of the unredacted version of




                                                   4
        Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 5 of 9




the letter containing classified information that they maintain in either physical or electronic

format within 14 days of the date of this order and certify to DoJ in writing that they have done

so. The Parties shall not share the redacted version of ECF No. 144-2 and ECF No. 146-2 with

any entity or individual and shall take reasonably prudent precautions to prevent any such

disclosure. The obligations set forth in this paragraph belong to each individual party to this

action, and no party shall be held responsible for another party’s failure to comply with the terms

of this paragraph.

       7.      The Parties shall notify the U.S. Government, through DoJ counsel by sending an

email to all DoJ counsel of record in this case, of any depositions or other examinations of

witnesses prior to noticing any such deposition or examination if the party taking the deposition

or examination reasonably believes that any question that party asks or that any other party

would likely ask might reasonably be expected to elicit Protected Information or any information

regarding Mr. Baugh prior to July 1, 2018. Otherwise, the party taking the deposition or

examination shall provide the U.S. Government notice simultaneously with the party being

deposed or examined. If the U.S. Government determines that a deposition or examination

might reasonably be expected to elicit Protected Information, the U.S. Government will inform

the parties of this and will then meet and confer with the relevant parties to determine a mutually

agreeable date and time, location, and means by which the deposition will be taken that ensures

Protected Information is not divulged. DoJ counsel and other U.S. Government representatives

may participate in all depositions and examinations that they determine might reasonably be

expected to elicit Protected Information. In accordance with Paragraph 12 below, any party may

present to the Court any disagreement with the U.S. Government’s determination. At any

deposition or examination in which the U.S. Government participates, DoJ counsel may make




                                                 5
        Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 6 of 9




objections to questions or answers and to the introduction of any documents, as necessary to

protect Protected Information, and DoJ counsel may instruct the witness not to answer any

question that DOJ counsel determines necessary to protect Protected Information. If DoJ counsel

objects based on the need to protect such information with respect to either witness testimony or

documents introduced or otherwise relied upon during an examination, then the witness shall not

testify with respect to the line of inquiry that engendered the objection, and any document

subject to such objection shall be withdrawn from the record.

       8.      The Parties agree that any transcript of any deposition or proceeding that may

contain Protected Information will first be submitted to the U.S. Government, through DoJ

counsel, for review to determine if any redactions are needed before the transcript is provided to

the Parties or publicly released. In such cases, the Parties shall use or disclose only such

transcripts that have been approved by the U.S. Government.

       9.      The Parties shall notify the U.S. Government, through DoJ counsel, prior to any

hearing or trial in this case where any witness may testify. DoJ counsel, accompanied by other

U.S. Government representatives (who need not be identified by name on the record), may be

present at any such hearing or trial, and may make objections to questions or answers on behalf

of the United States as necessary to protect Protected Information.        Unless an inquiry is

withdrawn, testimony to which the Government objects shall not be taken until after an

opportunity to present briefing and argument to the Court, including any ex parte, in camera

submissions by the Government in support of its objection, on whether the testimony would

reveal or risk disclosure of Protected Information.

       10.     Should any party wish to seek testimony from a current or former U.S.

Government employee concerning matters related to the U.S. Government, including matters




                                                 6
        Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 7 of 9




related to that individual’s federal employment or seek materials from or controlled by the U.S.

Government, the requesting party shall submit a Touhy request to the DoJ. All such requests are

governed by the applicable Touhy regulations. The parties shall confer with the DoJ as to the

procedure to follow with respect to issuance of any subpoena to a current or former U.S.

Government employee or witness testimony or materials from the U.S. Government.

       11.     Any subpoena directed to a non-party seeking testimony, documents, and/or

electronically stored information shall include a copy of this Order, and all non-party recipients

of a subpoena shall be bound to the terms of this Order. Subpoena recipients are ordered not to

produce or otherwise disclose Protected Information and must follow the procedures set forth in

this Order.

       12.     Should any party dispute the U.S. Government’s application of this Order, the

party shall first confer with DoJ counsel to attempt to resolve the dispute. If the party and DoJ

counsel are unable to resolve the dispute, and the party seeks judicial intervention, the party and

DoJ counsel will first attempt to confer with the Court to resolve the matter before any motions

practice. If the matter is not resolved, the disputing party and the Government shall submit a

joint status report addressing the schedule for motions practice to resolve any dispute. Nothing

in this Order shall limit the discretion of the U.S. Government to present any defense or take any

other action to safeguard Protected Information, including through an assertion of the state

secrets privilege or other applicable governmental privileges.

       13.     Subject to further order of the Court after hearing from the parties and the U.S.

Government, the terms of this Order shall remain in effect after final disposition of the above

captioned matter.




                                                 7
      Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 8 of 9




IT IS SO ORDERED.

DATED this ____ day of _______________, 2023



                                               _______________________________
                                               The Honorable Patti B. Saris
                                               United States District Judge




                                         8
Case 1:21-cv-11181-PBS Document 288-2 Filed 11/07/23 Page 9 of 9




                              Summary report:
    Litera Compare for Word 11.4.0.111 Document comparison done on
                           11/7/2023 10:20:33 AM
Style name: Sidley Default
Intelligent Table Comparison: Active
Original filename: Steiner v eBay_Proposed Protective Order_final (003).docx
Modified filename: Exhibit A - Revised Protective Order.docx
Changes:
Add                                                          12
Delete                                                       8
Move From                                                    1
Move To                                                      1
Table Insert                                                 0
Table Delete                                                 0
Table moves to                                               0
Table moves from                                             0
Embedded Graphics (Visio, ChemDraw, Images etc.)             0
Embedded Excel                                               0
Format changes                                               0
Total Changes:                                               22
